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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES—GENERAL

Case No. CV 23-859-GW-AFMx Date June 25, 2024

Title Alameda Healthcare and Weliness Center, LLC, et al. v. All American Page 1 of 3
Healthcare Services, Inc., et al.

Present: The Honorable GEORGE H. WU, UNITED STATES DISTRICT JUDGE

Javier Gonzalez None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiff(s) Attorneys Present for Defendant(s)
None Present None Present

Proceedings: INCHAMBERS - ORDER ON PLAINTIFFS/COUNTER-CLAIM
DEFENDANTS’ NOTICE OF EX PARTE APPLICATION AND EX
PARTE APPLICATION FOR AN ORDER TO STRIKE DEFENDANT /
COUNTER-CLAIM PLAINTIFF’S MOTION FOR SUMMARY
JUDGMENT AND REQUEST FOR SANCTIONS [140]

The Court has received and reviewed Plaintiffs’ ex parte motion to strike Defendant’s
motion for summary judgment (the “Motion”). See Motion, Docket No. 139. Defendant did not
file an opposition. Plaintiffs move to strike Defendant’s motion for summary judgement (the
“MSJ”’), Docket No. 138, and request $2,000.00 in sanctions to recover the attorney fees incurred
in preparing the Motion. Having reviewed the Motion, the MSJ, and the docket in this case, the
Court hereby STRIKES the MSJ and SCHEDULES an Order to Show Cause Why Sanctions
Should Not Be Issued for Monday, July 1, 2024 at 8:30 a.m.!

Defendant filed the MSJ on June 20, 2024 and set it for hearing on July 18, 2024. Under
the operative scheduling order in this case, the last day to have any motions jeard except for
motions in limine was May 27, 2024. See Docket No. 62. That means the filing deadline for any
motions was April 29, 2024 — twenty-eight days before the last day for the motion to be heard.
Accordingly, Defendant filed the MSJ an astonishing fifty-two days late.

! The parties are already scheduled to appear for a post-mediation status conference on July 1, 2024 at 8:30
a.m. The Court will address both issues at the same time.

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UNITED STATES DISTRICT COURT
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CIVIL MINUTES—GENERAL

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There can be no genuine dispute concerning the cutoff date to hear motions. The operative
scheduling order issued on December 14, 2023 stated in bold: “There will be no further
continuances granted.” See Docket No. 62. Consistent with that directive, on March 15, 2024, the
Court denied the parties’ stipulation to extend discovery. See Docket No. 96. When the Court
addressed a discovery dispute on April 4, 2024, it allowed the re-opening of fact discovery for the
limited purpose of taking two specific depositions but clearly concluded that: “For the avoidance
of doubt, nothing in this order shall be construed to alter any other deadline set forth in the Court’s
scheduling order.” See Docket No. 109 at 8. At that time, the Court indicated that it would allow
a 45-day trial continuance if the parties so stipulated. Consistent with that directive, the Court
subsequently denied Plaintiffs’ ex parte request to continue the trial date because the parties did
not stipulate to a continuance. See Docket No. 121. The parties thereafter stipulated to a trial
continuance, which the Court granted. See Docket No. 132. Though the stipulated trial
continuance stated that “[p]retrial deadlines set forth in the Court’s Standing Order re Final Pre-
Trial Conferences [Doc. 10] shall trail the new final pretrial conference and trial dates,” nothing
in the stipulation or the standing order regarding final pre-trial conferences extended the deadline
to file a motion for summary judgement. Therefore, the Court finds that the MSJ is untimely and
orders the Clerk of the Court to STRIKE it from the docket.

Aside from its glaring untimeliness, the MSJ is improper for several other reasons. Perhaps
most noticeable is the fact that it was filed with Microsoft Word comment bubbles containing
Defendant’s counsel’s comments in additional to several other formatting irregularities. See MSJ
at 13, 15. Setting that aside, the MSJ did not contain the required attestation that the motion was
made following the conference of counsel as required by Local Rule 7-3. Plaintiffs’ counsel attests
that Defendant’s counsel did not contact her to meet and confer before filing the MSJ. See
Declaration of Farah Tabibkhoei § 6. Furthermore, Plaintiffs’ counsel states that she emailed

Defendant’s counsel on June 21, 2024 seeking to meet and confer regarding the ex parte Motion

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and requesting the MSJ be withdrawn, but Defendant’s counsel did not respond. Jd. § 8.

Plaintiffs’ counsel saya that she spent five hours preparing the ex parte motion to strike at
a rate of $400.00 per hour and seeks $2,000.00 as a sanction for the attorney fees incurred in
preparing the Motion. Jd. § 11; Motion at 8-9. Based on the attestation of Plaintiffs’ counsel’s
experience and having reviewed the well-prepared Motion, the Court would find that the time
expended on the Motion and the hourly rate charged are both reasonable. Considering the blatant
violations of this Court’s orders and the applicable local rules set forth above, the Court would
find that there is good cause to impose sanctions under Local Rules 7-13 and 83-7 because
Defendant’s conduct rises to the level of bad faith and/or is willfully disobedient of the Court’s
orders. See Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991) (“an assessment of attorney’s fees
is undoubtedly within a court’s inherent power’).

The Court is therefore inclined to GRANT Plaintiffs’ request for sanctions in the amount
of $2,000.00. To allow Defendant an opportunity to be heard, the Court SCHEDULES an Order
to Show Cause Why Sanctions Should Not Be Issued for Monday, July 1, 2024 at 8:30 a.m.

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